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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                 )
                                                          )                      8:13CR314
                           Plaintiff,                     )
                                                          )
         vs.                                              )                        ORDER
                                                          )
JOHNNY MARTINEZ,                                          )
ANISHA MARTINEZ,                                           )
ANTHONY WEINRICH,                                          )
MARK PIPER and                                            )
JACKLYNN WALKER,                                          )
                                                          )
                           Defendants.                    )



         This matter is before the court on the motion for an extension of time by defendant Anthony Weinrich

(Weinrich) (Filing No. 89). Weinrich seeks an extension of thirty days in which to file pretrial motions in accordance

with the progression order (Filing No. 24). Weinrich has filed an affidavit wherein he consents to the motion and

acknowledges he understands the additional time may be excludable time for the purposes of the Speedy Trial Act

(Filing No. 90). Upon consideration, the motion will be granted and the pretrial motion deadline will be extended

for all defendants in this matter.



         IT IS ORDERED:

         Defendant Weinrich's motion for an extension of time (Filing No. 89) is granted. ALL DEFENDANTS are

given until on or before January 27, 2014, in which to file pretrial motions pursuant to the progression order. The

ends of justice have been served by granting such motion and outweigh the interests of the public and the defendants

in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between

December 26, 2013, and January 27, 2014, shall be deemed excludable time in any computation of time under

the requirement of the Speedy Trial Act for the reason defendants' counsel require additional time to adequately

prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case. The

failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).



         DATED this 26th day of December, 2013.

                                                               BY THE COURT:

                                                               s/ Thomas D. Thalken
                                                               United States Magistrate Judge
